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 1                              UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                  )
 4                                              )         Case No.: 2:10-cr-00236-GMN-PAL
 5
                         Plaintiffs,            )
           vs.                                  )        ORDER ACCEPTING REPORT &
 6                                              )     RECOMMENDATION OF MAGISTRATE
     LLOYD H. GARDLEY, et al.,                  )           JUDGE PEGGY A. LEEN
 7                                              )
                         Defendants.            )
 8
                                                )
 9

10         Before the Court for consideration is the Report and Recommendation (ECF No. 211) of

11   the Honorable Peggy Leen, United States Magistrate Judge, entered September 14, 2012.

12   Objections were due by October 1, 2012. No objections have been filed. The Court has

13   conducted a de novo review of the record in this case in accordance with 28 U.S.C. § 636(b)(1)

14   and Local Rule IB 1-4, and determines that Magistrate Judge Leen’s Recommendation should be

15   ACCEPTED.

16         IT IS THEREFORE ORDERED that the Government’s Motion to Amend Second

17   Superseding Indictment to Correct Typographical Errors (ECF No. 197) is GRANTED.

18         DATED this 17th
                      16th day of October, 2012.

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21                                                  Gloria M. Navarro
                                                    United States District Judge
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